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FILED

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Name and Prisoner/Booking Number JUN - 7 2019
Place of law JC EASTER otal BTR SPORNIA
SLE VHOLAE: "

 

 

Mailing Address E, Ey, CH G Y Ss ) >

(Failure to notify the Court of your change of address may result in dismissal of this action.)

City, State, Zip Code

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

MAT muivere ¢ Jeary balls ae

 

 

 

 

 

 

 

(Full Name of Plaintiff) Plaintiff, )
) ‘
v. ) CASE NO. SH ‘ \q Cv 1O4FT DB
. . ) (To be supplied by the Clerk)
w LT a5 Mein
(Full Name of Defendant) )
(2) » )
) CIVIL RIGHTS COMPLAINT
(3) , ) BY A PRISONER
)
(4) ) Original Complaint
Defendant(s). ) | OFirst Amended Complaint
[1 check if there are additional Defendants and attach age 1-A listing them. ) C] Second Amended Complaint

A. JURISDICTION

1. This Court has jurisdiction over this action pursuant to:
M 28 U.S.C. § 1343(a); 42 U.S.C. § 1983
LJ 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971).
C1 Other:

 

2.  Institution/city where violation occurred: Oba t¢ Ia / Y

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B. DEFENDANTS

 

 

 

 

 

 

 

 

1. Name of first Defendant: MAD HB Used . The first Defendant is employed as:
LT at I2LaVO TA le ,

(Position and Title) (Institution)

2. Name of second Defendant: . The second Defendant is employed as:
(Position and Title) " (Institution)

3. Name of third Defendant: . The third Defendant is employed as:
(Position and Title) “ (Institution)

4. Name of fourth Defendant: . The fourth Defendant is employed as:
(Position and Title) " (Institution)

If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

C. PREVIOUS LAWSUITS

 

1. Have you filed any other lawsuits while you were a prisoner? LI Yes EXo
2.  Ifyes, how many lawsuits have you filed? . Describe the previous lawsuits:
: i
a. First prior lawsuit: ~ MM a
1. Parties: .
2. Court and case number: [

 

3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

b. Second prior lawsuit: /
1. Parties: v.

 

 

 

 

 

2. Court and case number: /

3. Result: (Was the case dismissed? pies it appealed? Is it still pending?)
c. Third prior lawsuit: /

1. Parties: Vv.

2. Court and case number: |

 

3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

 

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.

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D. CAUSE OF ACTION

CLAIM I r 7 a
1. State the constitutional or other federal civil right that was violated: G1. An é- “ih ME 7 T

 

2. Claim I. Identify the issue involved. Check only one. State additional issues in separate claims.
i Basic necessities L] Mail (1 Access to the court [] Medical care

Disciplinary proceedings LJ Property LC Exercise of religion LC) Retaliation
ZC Excessive force by an officer [1 Threat to safety [J Other:

 

3. Supporting Facts. State as briefly as possible the FACTS supporting Claim I. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments.

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4. Injury. State how you were injured by the actions or inactions of the Defendant(s).
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THs (5 Cag 4 (AS YUSAAC fet (SHmEST

 

5. Administrative Remedies:
a. Arethere any administrative remedies (grievance procedures or administrative appeals) available at your

institution? HW ves LJ No
b. Did you submit a request for administrative relief on Claim I? Yes LI No
c. Did you appeal your request for relief on Claim I to the highest level? A! Yes LJ No
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
did not.

 

 
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CLAIM II
State the constitutional or other federal civil right that was violafet,/;

 

 
 

 

1.
[
2. Claim II. Identify the issue involved. Check only one. State additional issues in separate claims.
(_] Basic necessities (J Mail L) Aécess to the court (J Medical care
(] Disciplinary proceedings J Property C) Exercise of religion [J] Retaliation
C3 Excessive force by an officer [1 Threat to safety L1/Other:
3. Supporting Facts. State as briefly as possible the FACYS supporting Claim II. Describe exactly what each

Defendant did or did not do that violated your rights. State thfe facts clearly in your own words without citing legal

authority or arguments.

 

 

 

 

 

 

 

 

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4.

Injury. State how you were injured by the jactions or inactions of the Defendant(s).

 

 

 

 

5.

Administrative Remedies.
a. Arethere any administrative remedies (grievance procedures or administrative appeals) available at your

institution? LJ Yes LINo
b. Did you submit a request for administrative relief on Claim II? [J Yes CI No
c. Did you appeal your request for relief on Claim II to the highest level? CJ Yes J No
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
did not.

 

 
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CLAIM III
1. State the constitutional or other federal civil right that was violated: __/

 

  

2. Claim III. Identify the issue involved. Check only ofie. Staté additio ali issues in separate claims.
LJ Basic necessities L Mail/ é court L| Medical care
LJ Disciplinary proceedings LC) Property Exerfgise df religion LJ Retaliation
LC Excessive force by an officer LJ Threat to safety /

 

3. Supporting Facts. State as briefly as Possinie the FACTS/supporting Claim III. Describe exactly what each

authority or arguments.

 

4. Injury. State how you were injured by actions or inactions of the Defendant(s).

|
|

 

5. Administrative Remedies.
a. Arethere any administrative remefiies (grievance procedures or administrative appeals) available at your

institution? L] Yes LI No
b. Did you submit a request for administrative relief on Claim III? L1 Yes LI No
c. Did you appeal your request for relief on Claim III to the highest level? L] Yes LI No
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
did not.

 

 

If you assert more than three Claims, answer the questions listed above for each additional Claim on a separate page.

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E. REQUEST FOR RELIEF

State the relief you are seeking: {f |Z,020, OO). OF }J (ity Fh, L902 OSS

|

 

 

 

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.

- LL
Executed on lp ‘ | f 4
DATE

bE 4 JZ—

SIGNATURE‘OF PLAINTIFF

(Name and title of paralegal, legal assistant, or
other person who helped prepare this complaint)

 

 

(Signature of atiggney, if any)

|
I
|

(Attorney’s address & telephone number)

 

ADDITIONAL PAGES

All questionp must be answered concisely in the proper space on the form. If you need more space you may attach
more pages, but you are strongly encouraged to limit your complaint to twenty-five pages. If you attach
additional pages, be sure to identify which section of the complaint is being continued and number all pages.
Remember, there is no need to attach exhibits to your complaint.
 

 

 

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STA: = OF CALIFORNIA DEPARTMENT OF CORRECTIONS
CDC - 197 11/88}

— . ....... . FRUST ACCOUNT WITHDRAWAL ORDER- - -— —-— >
_ Date. G6" os aisnninn BOL ba

To: Warden ADPrOVEd q.1-.neevnansncaneseeennniansivansinnne

| hereby request that my Trust Account be charged $ ooo. ensccucsocece for the purpose stated below and authorize
the withdrawal of that sum from my account:

L.>: COLL

 

NUMBER
State below the PURPOSE for which withdrawal is requested PRINT PLAINLY BELOW name and address of persan

{do not use this form for Canteen of Habby (te to wham check is to be mailed.

lpi Mihi _ wae ZL Li.swice hauls ae

 

 

 

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Sor 2 Ss PE

 

 

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wenn Oe Mea eae

PRINT YOUR FULL NAME HERE

  
